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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

HOLT HEALTHCARE                                           )
MANAGEMENT SERVICES, INC.,                                )
on behalf of plaintiff and                                )
the class members defined herein,                         )      14-cv-5715
                                                          )
               Plaintiff,                                 )
                                                          )      Judge Zagel
               v.                                         )      Magistrate Judge Gilbert
                                                          )
SYNCOM PHARMACEUTICALS, INC.,                             )
and JOHN DOES 1-10,                                       )
                                                          )
               Defendants.                                )

                                    NOTICE OF DISMISSAL

       Pursuant to Fed R. Civ. Proc. 41(a) and the agreement entered into between the Parties in
the above matter, Plaintiff hereby stipulates and agrees to the dismissal of Plaintiff’s individual
claims against Defendant with prejudice, and with each party bearing its own costs. Plaintiff's
class claims are dismissed without prejudice and with each party bearing its own costs. This
stipulation of dismissal disposes of the entire action.

                                                          Respectfully submitted,


                                                          /s/ Dulijaza (Julie) Clark
                                                          Dulijaza (Julie) Clark

Daniel A. Edelman
Dulijaza Clark
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Chicago, Illinois 60603
(312) 739-4200
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                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, hereby certify that on May 28, 2015, the foregoing document was filed
electronically, and notification of such filing was served upon the following:

Via U.S. Mail

       James Decourgin
       Syncom Pharmaceuticals, Inc.
       125 Clinton Road
       Farfield, New Jersey 07004

Via Electronic Mail

       William B. Hayes
       257 Jackson Street
       Denver, Colorado 80206
       sqhayes@aol.com

                                                    /s/ Dulijaza (Julie) Clark
                                                    Dulijaza Clark

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